The relief described hereinbelow is SO ORDERED.

SIGNED this 19th day of October, 2016.




_________________________________________________________________________



                  IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF KANSAS

  In re:

  MARK H. ENGEN                                                  Case No. 15-20184-rdb-13
  MAUREEN E. ENGEN

                  Debtor(s).


       ORDER CONDITIONALLY GRANTING MOTION TO RETAIN POST-
               PETITION INHERITED 401(k) DISTRIBUTION

     NOW ON this 13th day of September, 2016, this matter comes before the Court for

  hearing. The appearances are: David A. Reed, Esq., for Debtors; Karie Fahrenholz for

  the Chapter 13 Trustee; there are no other appearances.

     IT IS THEREFORE BY THE COURT ORDERED that Debtors are conditionally

  granted leave to retain the $73,269.34 in 401(k) proceeds recently inherited by Maureen

  from the estate of her late father, John J. Mahoney, who passed away earlier this year, in

  order to meet reasonable ongoing expenses for themselves and family.

     IT IS FURTHER ORDERED that retention is conditioned upon Debtor’s having a



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qualified tax professional calculate all estimated taxes on this inheritance; that the

same be withheld, with the further requirement that proof of the calculation (and the

subsequent payment) be provided to the Chapter 13 Trustee before any funds are

expended for personal use.

   IT IS FURTHER ORDERED that attorney fees of $450.00 shall be paid through the

plan for the prosecution of this motion.

   IT IS SO ORDERED.
                                            ####



Prepared by:


_/s/ David A. Reed________
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Approved as to form:



__/s/ William H. Griffin______
William H. Griffin, #08060 KS
Chapter 13 Trustee
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